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Approved: /s Richard Cooper /s Daniel Tracer_
          RICHARD COOPER/DANIEL TRACER
          Assistant United States Attorneys


                                                  20 MAG 9381
Before:   HONORABLE SARAH L. CAVE
          United States Magistrate Judge
          Southern District of New York

- - - - - - - - - - - - - - - - -       x
                                        :   SEALED COMPLAINT
UNITED STATES OF AMERICA                :
                                        :   Violations of
               - v. -                   :   15 U.S.C. §§ 77q, 77x; 18
                                        :   U.S.C. §§ 152(6), 1343,
DANIEL KAMENSKY,                        :   1512 & 2.
                                        :
                Defendant.              :   COUNTY OF OFFENSE:
                                        :   New York
- - - - - - - - - - - - - - - - -       x

SOUTHERN DISTRICT OF NEW YORK, ss.:

          FATIMA HAQUE, being duly sworn, deposes and says that
she is a Special Agent with the Federal Bureau of Investigation
(“FBI”) and charges as follows:

                               COUNT ONE
            (Fraud   in the Offer or Sale of Securities)

     1.   On or about July 31, 2020, in the Southern District of
New York and elsewhere, DANIEL KAMENSKY, the defendant, willfully
and knowingly, in the offer and sale of securities, by the use of
means and instruments of transportation and communication in
interstate commerce and by use of the mails, directly and
indirectly employed a device, scheme, and artifice to defraud, to
wit, KAMENSKY, in violation of his fiduciary duties, engaged in a
scheme to defraud the unsecured creditors in the official bankrupty
proceeding of Neiman Marcus Group Ltd LLC (“Neiman Marcus”) by
pressuring a global investment bank (the “Investment Bank”) to
withdraw its bid to purchase certain securities from the unsecured
creditors at a higher price than KAMENSKY’s hedge fund, Marble
Ridge Capital LP (“Marble Ridge”), had offered for those
securities.
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(Title 15, United States Code, Sections 77q(a)(1) and 77x; Title
               18, United States Code, Section 2.)

                               COUNT TWO
                              (Wire Fraud)

     2.   On or about July 31, 2020, in the Southern District of
New York and elsewhere, DANIEL KAMENSKY, the defendant, willfully
and knowingly, having devised and intending to devise a scheme and
artifice to defraud, and for obtaining money and property by means
of false and fraudulent pretenses, representations, and promises,
transmitted and caused to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds for the purpose of
executing such scheme and artifice, to wit, KAMENSKY, in violation
of his fiduciary duties, engaged in a scheme to defraud the
unsecured creditors in Neiman Marcus’s official bankrupty
proceeding by pressuring the Investment Bank to withdraw its bid
to purchase certain securities from the unsecured creditors at a
higher price than KAMENSKY’s hedge fund, Marble Ridge, had offered
for those securities.

      (Title 18, United States Code, Sections 1343 and 2.)

                           COUNT THREE
      (Extortion and Bribery In Connection With Bankruptcy)

     3.   On or about July 31, 2020, in the Southern District of
New York and elsewhere, DANIEL KAMENSKY, the defendant, knowingly
and fraudulently gave, offered, received, and attempted to obtain
money and property, remuneration, compensation, reward, advantage,
and promise thereof for acting or forbearing to act in any case
under Title 11 of the United States Code, to wit, KAMENSKY
pressured the Investment Bank to withdraw its bid to purchase
certain securities from the unsecured creditors by threatening to
(i) use his position on the creditors’ committee to ensure that
the Investment Bank’s bid would be rejected, and (ii) withhold
Marble Ridge’s future business from the Investment Bank, so that
Marble Ridge could obtain those securities at a lower price.

     (Title 18, United States Code, Sections 152(6) and 2.)

                             COUNT FOUR
                      (Obstruction of Justice)

     4.   From at least on or about July 31, 2020 up to and
including on or about August 4, 2020, in the Southern District of


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New York and elsewhere, DANIEL KAMENSKY, the defendant, corruptly
obstructed, influenced, and impeded an official proceeding, and
attempted to do so, to wit, KAMENSKY sought to influence a senior
employee at the Investment Bank (“IB Employee-1”) into providing
a false account of a conversation KAMENSKY had with IB Employee-
1, in order to impede a criminal investigation of KAMENSKY’s
conduct.

    (Title 18, United States Code, Sections 1512(c)(2) and 2.)

          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

     5.   I have been a Special Agent with the FBI for
approximately two years. I am currently assigned to a squad that
is responsible for investigating violations of the federal
securities laws, as well as wire and mail fraud laws and related
offenses. I have participated in numerous investigations of these
offenses, and I have made and participated in making arrests of
numerous individuals for committing such offenses.

     6.   The information contained in this affidavit is based
upon my personal knowledge, as well as information obtained during
this investigation, directly or indirectly, from other sources,
including documents provided by others, from speaking with
witnesses, and from conversations with representatives of the
Office of the United States Trustee (the “UST”) and the United
States Securities and Exchange Commission (the “SEC”).     Because
this affidavit is being submitted for a limited purpose, I have
not set forth each and every fact I have learned in connection
with this investigation.     Where conversations and events are
referred to herein, they are related in substance and in part
unless otherwise noted.   Where dates, figures, and calculations
are set forth herein, they are approximate.

                              Background

      The Defendant, Marble Ridge, and the Investment Bank

     7.   At all times relevant to this Complaint, DANIEL
KAMENSKY, the defendant, was the principal of Marble Ridge, a
hedge fund that invests in securities in distressed situations,
including bankruptcies. Marble Ridge, which had assets under
management of more than $1 billion as of at least early 2020,
was based in Manhattan, New York. Prior to opening Marble
Ridge, KAMENSKY worked for many years as a bankruptcy attorney
at a well-known international law firm, and as a distressed debt

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investor at prominent financial institutions.

     8.   At all times relevant to this Complaint, the
Investment Bank was a diversified financial services company
headquartered in New York, New York. Marble Ridge conducted
business with the Investment Bank, including as a client.

                  The Bankruptcy Process and the
               Office of the United States Trustee

     9.   The bankruptcy laws, or the bankruptcy code, allow a
debtor to seek the aid of the United States Bankruptcy Court to
restructure and reorganize its debt and thereby continue as a going
concern. The Chapter 11 bankruptcy process typically begins with
the filing of a bankruptcy petition in bankruptcy court and
proceeds until the court approves a plan of reorganization (a
“Plan”).

     10. Among the participants in a Chapter 11 bankruptcy are
unsecured creditors. Unsecured creditors have claims that are not
backed by any assets of the debtor, and therefore typically receive
lesser pro rata recoveries of their claims, if they receive any
recovery, than secured creditors.

     11. The UST, a component      within the U.S. Department of
Justice, plays a critical role in bankruptcies throughout the
United States by serving as a watchdog over the bankruptcy process.
Among the duties entrusted to the UST in connection with bankruptcy
proceedings, is the appointment of certain representatives of the
unsecured creditors of a filing debtor to a “creditors’ committee.”
A creditors’ committee generally represents a wide range of
unsecured creditors and is formed to obtain the largest possible
recovery for the unsecured creditors in a Plan.        By statute,
members of the creditors’ committee are required to act as
fiduciaries to all unsecured creditors, thus requiring them to,
among other things, act with the highest standards of honesty and
integrity, and put the interests of the collective group of
unsecured creditors above their own personal self-interest.

           The Neiman Marcus Bankruptcy and MyTheresa

     12. From my review of public filings in the United States
Bankruptcy Court for the Southern District of Texas and my
conversations with representatives of the UST, I have learned,
among other things, that:

          a.   Neiman Marcus is an American chain of luxury
department stores with stores located across the United States.

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As of at least approximately 2013, Neiman Marcus was privately
owned by two investment funds.

          b.   In or about May 2020, Neiman Marcus filed for
Chapter 11 bankruptcy protection in the United States Bankruptcy
Court for the Southern District of Texas (the “Bankruptcy Court”).
Prior to its bankruptcy filing, Neiman Marcus transferred
MyTheresa--an online luxury fashion retailer that was owned by
Neiman Marcus--to another Neiman Marcus entity that did not file
for bankruptcy. At the time of the bankruptcy filing, MyTheresa
was considered one of the most valuable assets within the family
of Neiman Marcus entities.     Some of Neiman Marcus’s creditors
alleged that transfer to be a fraudulent conveyance for the purpose
of removing that asset from the pool of available assets to
creditors in the bankruptcy (the “Alleged Fraudulent Conveyance”).

          c.   At the outset of the Neiman Marcus bankruptcy, the
UST formed an Official Committee of Unsecured Creditors (the
“Committee”), composed of nine entities who all were unsecured
creditors of Neiman Marcus. Marble Ridge, through DANIEL KAMENSKY,
the defendant, applied to be on the Committee and was thereafter
appointed to be a member of the Committee. At the time, Marble
Ridge was one of the largest unsecured creditor of Neiman Marcus.

          d.    In KAMENSKY’s signed application to serve on the
Committee, KAMENSKY attested that he agreed to a number of
conditions, including that “[m]embers of the Committee are
fiduciaries who represent all unsecured creditors as a group. . .
.” In the cover email transmitting that application to the UST,
the General Counsel of Marble Ridge wrote that “Mr. Kamensky has
more than 20 years of bankruptcy and investing experience and fully
understands the fiduciary responsibilities associated with
membership on the Committee. Mr. Kamensky is committed to devote
the time and energy necessary to earnestly represent all unsecured
creditors.”

          e.    During the bankruptcy process, the Committee had
negotiated with the owners of Neiman Marcus (also known as the
“Sponsors”)--who also controlled the Neiman Marcus entity to which
MyTheresa was transferred--to obtain Series B shares in MyTheresa
(the “MYT Securities”) in exchange for providing a release from
potential claims against them for the Alleged Fraudulent
Conveyance. Ultimately, the Committee was successful in coming to
a settlement to obtain 140 million shares of MYT Securities for
the benefit of certain unsecured creditors of the bankruptcy estate
(the “Settlement”). The MYT Securities represented an ownership
interest in MyTheresa and were considered highly illiquid (i.e.,
they did not trade on any public exchange). The Committee and the

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Sponsors intended for the Settlement to be included in the final
bankruptcy plan that was subject to confirmation by the Bankruptcy
Court in or about early September 2020.

          f.   As further described below, the Committee also
discussed the possibility of entertaining an offer from a financial
firm interested in purchasing MYT Securities from certain
unsecured creditors (the “Cashout Option”). Under the terms of
the Cashout Option, a financial firm would offer to purchase MYT
Securities from any unsecured creditor who preferred to receive
cash as part of the Settlement rather than the illiquid MYT
Securities. In particular, up until at least on or about July 31,
2020, KAMENSKY and the Committee were discussing the possibility
of Marble Ridge providing the Cashout Option.

          g.   On or about August 5, 2020, after the Bankruptcy
Court was advised by representatives of the Committee that KAMENSKY
had pressured the Investment Bank not to bid on providing the
Cashout Option for the MYT Securities, the Bankruptcy Court
directed that the UST conduct an investigation (the “UST
Investigation”) and thereafter to file a report with the Bankruptcy
Court.

                        The Fraudulent Scheme

     13. As part of my investigation, I have reviewed the report
filed by the UST, dated August 19, 2020 (the “Trustee Report”), as
well as documents obtained by the UST during the UST Investigation
and transcripts of interviews conducted by the UST with DANIEL
KAMENSKY, the defendant, and other individuals.       I have also
interviewed IB Employee-1 as well as a senior analyst at the
Investment Bank (“IB Employee-2,” and collectively the “IB
Employees”). As a result of that review and those interviews, I
have learned, among other things, that:




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  KAMENSKY Learns that the Investment Bank Indicated Intent to
            Make a Higher Bid for the MYT Securities

          a.   In or about late July 2020, KAMENSKY proposed to
the Committee that Marble Ridge provide the Cashout Option by
purchasing, for twenty cents per share, 60 million MYT Securities
from any unsecured creditor wishing to sell MYT Securities it
obtained under the Settlement. The Committee agreed to negotiate
with Marble Ridge, which negotiations would have needed to be
completed quickly and in advance of a court hearing scheduled for
August 3, 2020, so that the agreement could be presented to the
Bankruptcy Court for inclusion in the bankruptcy reorganization
plan.

          b.   On or about July 30, 2020, the IB Employees were
contacted by a client of the Investment Bank (the “Client”) who
expressed interest in making a bid to purchase MYT Securities from
unsecured creditors who elected the Cashout Option. On the morning
of July 31, 2020, the IB Employees discussed a plan for the
Investment Bank to move forward with a proposal to the Committee
to buy the MYT Securities for the Client and potentially for
others.

          c.   That morning, the IB Employees informed the
financial and legal advisors to the Committee that the Investment
Bank was prepared to provide a Cashout Option to purchase MYT
Securities for a price “in the thirties” (i.e., between thirty and
forty cents per share), a price that was higher than the twenty
cents per share that was offered by Marble Ridge.

          d.   At or about 3:15 p.m. on or about July 31, 2020,
the financial and legal advisors to the Committee called KAMENSKY
and informed him, in substance and in part, that the Investment
Bank had made an offer for the MYT Securities in the range of
thirty cents per share.

              KAMENSKY Pressures the Investment Bank

          e.   Shortly after that call concluded, KAMENSKY sent a
Bloomberg chat message to the head trader at Marble Ridge (the “MR
Trader”), asking the MR Trader to check the text messages on his
phone. Thereafter, KAMENSKY and the MR Trader had the following
text message exchange about the need to prevent the Investment
Bank from placing a bid for the MYT Securities:

          KAMENSKY:        [IB Employee-2] from [the Investment
                           Bank] called the UCC counsel and offered
                           to buy the [MYT Securities] at 30 cents,

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                           that is a monumental mistake. I’m getting
                           [IB Employee-1] now. he needs to talk me.
                           let me know. They are threatening to put
                           a bid in.

          MR Trader:       For nmg [Neiman Marcus]??

          KAMENSKY:        yes i just texted [IB Employee-1]

          MR Trader:       Yikes what did we bid. Those guys man I
                           hope they were just ignorant to our
                           interests

          f.   At or around the same time as the text message
exchange above, KAMENSKY engaged in a Bloomberg chat message
exchange with IB Employee-1 in which he pressed IB Employee-1 not
to submit a bid for the MYT Securities:

          KAMENSKY:        Need you NOW

          KAMENSKY:        Where can I reach you

          IB Employee-1: Call me in 10min

          * * *

          KAMENSKY:        Tell [IB Employee-2] to stand DOWN

          IB Employee-1: Im on an inernal [sic] call

          KAMENSKY:        And let’s talk

                                 * * *

          KAMENSKY:        Do I need to reach out to [IB Employee-
                           2]

          KAMENSKY:        DO NOT SEND IN A BID

          g.   At or about 3:45 p.m. on or about July 31, 2020,
the IB Employees spoke with KAMENSKY on the phone. According to
the IB Employees, in that conversation, in substance and in part,
KAMENSKY was highly agitated and told the Investment Bank to stand
down and not put in a bid for the MYT Securities. In particular,
KAMENSKY explained that he had been respsonsible for getting the
MYT Securities as part of the Settlement for the unsecured
creditors and had incurred $3.5 million in legal fees in doing so.
Accordingly, KAMENSKY believed that Marble Ridge should have the
exclusive right to purchase MYT Securities from the unsecured

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creditors. KAMENSKY further said that he would use his official
role as co-chair of the Committee to prevent the Investment Bank
from acquiring the MYT Securities.     KAMENSKY also stated that
Marble Ridge had been a good partner to the Investment Bank, but
that if the Investment Bank moved forward with its bid for the MYT
Securities, Marble Ridge would cease doing business with the
Investment Bank. According to the IB Employees, at no point during
that call did KAMENSKY ask whether the Investment Bank had been
serious in making a bid for the MYT Securities or whether the
Investment Bank had adequate financing to advance such a bid.

          The Investment Bank Withdraws the Higher Bid

          h.   Following this phone call, on or about July 31,
2020, as a result of KAMENSKY’s pressure, the Investment Bank
decided to not make a bid to purchase the MYT Securities. Shortly
thereafter, the IB Employees called KAMENSKY and informed him of
the decision not to bid, but advised KAMENSKY that they would be
transparent with other parties about the reason for withdrawing
the bid. KAMENSKY responded, in substance and in part, that he
was grateful for that decision and that he was indebted to them.

          i.   At approximately 5:00 p.m. on or about July 31,
2020, the IB Employees spoke with the legal advisor to the
Committee and informed him, in substance and in part, that the
Investment Bank was withdrawing from making a bid because KAMENSKY
-— a client of the Investment Bank —- had asked it to do so.

          j.   At approximately 7:00 p.m. on or about July 31,
2020, the legal advisor to the Committee and other professional
advisors to the Committee spoke with counsel for Marble Ridge (the
“Marble Ridge Counsel”) and informed him of the substance of the
call from the IB Employees.    The Marble Ridge Counsel said, in
substance and in part, that he would have to speak with KAMENSKY.
The Marble Ridge Counsel thereafter contacted advisors to the
Committee and falsely informed them, in substance and in part,
that KAMENSKY had not asked the IB Employees not to bid; but
instead, had told the IB Employees to place a bid for the MYT
Securities only if the Investment Bank was serious.

             KAMENSKY Attempts to Cover-up the Fraud

          k.   Around this same time, KAMENSKY contacted IB
Employee-1 and attempted to influence what IB Employee-1 would
tell others (including the Committee and law enforcement) about
KAMENSKY’s attempt to block the Investment Bank’s bid for the MYT
Securities. At approximately 7:42 p.m., KAMENSKY sent a Bloomberg
chat message to IB Employee-1 that read “Are you there?” The two

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spoke shortly after 8:00 p.m. According to IB Employee-1, KAMENSKY
began the call by saying, in substance and in part, “this
conversation never happened.”      IB Employee-1, concerned that
KAMENSKY would engage in unethical or unlawful behavior, then began
recording the call.

          l.   During the recorded portion of the call, in
substance and in part, KAMENSKY asked why IB Employee-1 had said
that KAMENSKY threatened IB Employee-1 and asked if IB Employee-1
knew that could result in KAMENSKY going to jail. KAMENSKY further
asked IB Employee-1 to falsely say instead that it was a
misunderstanding and KAMENSKY had actually suggested that the
Invsetment Bank only bid if it was serious. According to a draft
transcript of that recording, during that call, the following was
said, among other things:

          KAMENSKY:         Why would you tell committee counsel that
                            I threatened you?    Why would you tell
                            them that?

                                  * * *

          KAMENSKY:         Do you understand . . . I can go to jail?
                            I can go to jail. Do you understand that?

          IB Employee-1: Dan. Do you understand I went in to them
                         [the Committee] this morning telling them
                         I was going to bid, okay?       You then
                         contact me on IB and you say I need to
                         talk to you now.    Stand down.   Do not
                         bid. . . . Hold on. Hold on a second,
                         Dan. Listen to me. And then you call me
                         and you say, do not bid. It’s going to
                         be a relationship issue, and so I said
                         okay. Dan’s a good relationship. What
                         he’s asking me to do makes me a little
                         bit uncomfortable. So, I thought about
                         it and I said okay, I’m fine doing it,
                         but I’m disclosing why I’m not bidding.

          KAMENSKY:         Okay.   Well . . . I might go to jail.
                            Okay? If you had told me that . . . .
                            The position I’m going to take is this is
                            a huge misunderstanding and I hope you –
                            I pray you tell them that it was a huge
                            misunderstanding, okay, and I’m going to
                            invite you to bid and be part of the
                            process . . . . me saying to you, okay,

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                      this is going to be my view on what
                      happened okay, and you can decide if you
                      don’t want to agree or not.      But I’m
                      telling you . . . this is going to the
                      U.S. Attorney’s Office. This is going to
                      go to the court. Like, do you want to be
                      dragged into this?    Like, bid all you
                      want but don’t – don’t – don’t put me in
                      jail.

                            * * *

    IB Employee-1: I honestly . . . don’t want anything to
                   do with this.

    KAMENSKY:         . . . It’s too late now. They’re going
                      to report this to the U.S. Attorney’s
                      Office, okay? . . . The U.S. Attorney is
                      going to investigate this. My position
                      to them is this. I said to them, this is
                      a huge misunderstanding, okay, humongous
                      misunderstanding and I told them – the
                      only thing I said was if you’re not real
                      don’t bid and if they’re real then they
                      should bid. Because otherwise the U.S.
                      Attorney is investigating this then,
                      okay? They’re going to report it, okay,
                      and my position . . . is going to be look,
                      this was a huge misunderstanding. . . .
                      [A]ll I told them was if they’re not real
                      they shouldn’t bid.

                                    * * *

    KAMENSKY:         [P]lease . . . help me out here. . . .
                      I mean, like, talk to me here ,talk to
                      me. How do we salvage this?

                            * * *

    KAMENSKY:         . . . Like, this is like, like, the
                      committee counsel is going to report
                      this. I can’t stop that, okay?
                      There’s no question in my mind that
                      they’re going to report it. THe only
                      thing that I can say to them is that
                      this is a huge misunderstanding.


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                                  * * *

    KAMENSKY:         . . . [I]f you're going to continue to
                      tell them what you just told me, I'm
                      going to jail, okay? Because they're
                      going to say that I abused my position as
                      a fiduciary, which I probably did, right?
                      Maybe I should go to jail. But I'm asking
                      you not to put me in jail.

    IB Employee-1: . . . Dan [] I would never lie for anyone,
                   okay, like 100 percent clear because that
                   in and of itself is a crime and I have
                   ethics...

    * * *

    KAMENSKY:         . . . Just so you know I’m not asking you
                      to lie, okay, and all I’m saying is that
                      if that’s what I said that’s not at all
                      what I intended and I apologize, okay? .
                      . . . I’m telling you that what I intended
                      to say, okay, is if you’re not real don’t
                      bid but if you’re real then you should
                      bid, and . . . for the relationship I
                      would tell you that’s exactly what I said
                      and I apologize if I was upset or if it
                      appeared as a threat.     But I’m telling
                      you that is exactly what I intended to
                      say and I’m just begging you to please
                      appreciate that’s what I meant to say and
                      that this conversation never happened. .
                      . .

    IB Empolyee-1: . . . [IB Employee-2] was also on the
                   phone, Dan, right, and I just will not be
                   involved in a situation where I lie,
                   okay? I just will not ...

    * * *

    KAMENSKY:         I’m not asking you to lie . . . maybe you
                      can see your way to saying that it was
                      misconstrued . . . That’s all I’m saying
                      . . . And this conversation could not
                      have happened. . . .



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  KAMENSKY Admits “Profound Errors,” Resigns from the Committee
                      and Closes Marbe Ridge

     14. As part of the UST Investigation, the UST conducted a
voluntary interview under oath of DANIEL KAMENSKY, the defendant
(the “KAMENSKY Interview”).     During the KAMENSKY Interview,
KAMENSKY was represented by counsel and advised of the voluntary
nature of the interview. Based on my review of a transcript of
the KAMENSKY Interview, I have learned the following:

          a.   KAMENSKY stated, in substance and in part, that he
understood that a Committee member had a fiduciary duty to act “in
the best interest of unsecured creditors generally and put those
interests above your own personal interests.”

          b.   KAMENSKY stated, in substance and in part, that
during the telephone call described in paragraph 13(g) above, that
he “may have” told the IB Employees that their bid for the MYT
Securiites “would affect our business relationship going forward,”
and also that KAMENSKY would “use my membership on the UCC to stop
[the Investment Bank’s bid for MYT Securities].”

          c.   KAMENSKY stated, in substance and in part, when
discussing the telephone call with IB Employee-1 described in
paragraph 13(k) above, that he did not want IB Employee-1 to lie,
but said instead that he was attempting to “manage the message”
and hoped that the two could find “common ground” regarding
KAMENSKY’s position that he had intended to communicate that the
Investment Bank should bid for MYT Securities if it was serious.

          d.   KAMENSKY stated on multiple occasions, in substance
and in part, that his calls to IB Employee-1 were a “terrible
mistake” and “profound errors in lapses of judgment [that] violated
the personal and professional belief I tried my best to live by.”

     15. From my review of the Trustee Report, I have learned
that Marble Ridge resigned from the Committee on August 1, 2020.

     16. From my review of publicly available information, I have
learned that on or about August 20, 2020, Marble Ridge advised its
investors that it intended to begin winding down operations and
returning investor capital.




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     WHEREFORE, I respectfully request that an arrest warrant be
issued for DANIEL KAMENSKY, the defendant, and that he be arrested
and imprisoned or bailed, as the case may be.



                                      Fatima Haque (By Court with Authorization)
                                  _/s____________________________
                                  FATIMA HAQUE
                                  SPECIAL AGENT
                                  FEDERAL BUREAU OF INVESTIGATION

Sworn to me through the transmission
of this Complaint by reliable electronic means
pursuant to Federal Rule of Criminal Procedure 4.1,
this 2nd day of September, 2020


______________________________
HONORABLE SARAH L. CAVE
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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